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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-250-GEB
12                                Plaintiff,             STIPULATION TO VACATE TRIAL AND ALL
                                                         TRIAL-RELATED DEADLINES AND TO SET
13                          v.                           CHANGE OF PLEA HEARINGS; PROPOSED
                                                         ORDER THEREON
14   XAVIER L. JOHNSON,
     KRISTIN M. CALDWELL, and                            DATE: May 23, 2017
15   WILLIAM L. BROWN,                                   TIME: 9:00 a.m.
                                                         COURT: Hon. Garland E. Burrell, Jr.
16                                Defendants.
17

18                                                 STIPULATION

19          1.      On April 14, 2017, the parties appeared and confirmed for trial to begin May 23, 2017.

20 The parties additionally informed the Court that there were plea offers pending which, if accepted,
21 would result in the parties requesting that the trial date be vacated as to some or all defendants. On that

22 date, defendant CALDWELL also requested that her case be set for further status for anticipated change

23 of plea on April 28, 2017.

24          2.      On April 18, 2017, the parties filed a signed plea agreement as to defendant BROWN.

25 ECF 124. On April 18, 2017, the parties filed a signed plea agreement as to defendant JOHNSON. ECF

26 125. On April 18, 2017, counsel for defendant CALDWELL informed the government that defendant
27 CALDWELL had agreed to the terms of the plea agreement. However, due to technical limits, the

28 parties will not be able to file a signed copy of the agreement until April 23, 2017.

      STIPULATION RE: VACATE TRIAL DATES AND SET         1
30    CHANGE OF PLEA HEARINGS
             Case 2:12-cr-00250-GEB Document 127 Filed 04/19/17 Page 2 of 3


 1         3.      By this stipulation, the defendants, through counsel, and the United States, through the

 2 undersigned Assistant United States Attorneys, now stipulate and agree, and request that the Court:

 3                 a)     Vacate the trial scheduled to commence on May 23, 2017, as to all defendants;

 4                 b)     Vacate all deadlines associated with trial date as to all defendants; and

 5                 c)     Schedule defendants XAVIER L. JOHNSON and WILLIAM L. BROWN for

 6         status hearings on April 28, 2017, for intended changes of plea for both defendants, and for

 7         arraignment on a superseding information as to defendant WILLIAM L. BROWN.

 8         4.      Time under the Speedy Trial Act was previously excluded through the planned trial date

 9 of May 23, 2017, and no further time exclusions are necessary.
10         IT IS SO STIPULATED.

11
     Dated: April 18, 2017                                  PHILLIP A. TALBERT
12                                                          United States Attorney
13
                                                            /s/ MATTHEW G. MORRIS
14                                                          MATTHEW G. MORRIS
                                                            TIMOTHY DELGADO
15                                                          Assistant United States Attorneys
16
     Dated: April 18, 2017                                  /s/ KYLE KNAPP
17                                                          KYLE KNAPP
18                                                          Counsel for Defendant
                                                            XAVIER L. JOHNSON
19

20 Dated: April 18, 2017                                    /s/ KELLY BABINEAU
                                                            KELLY BABINEAU
21                                                          Counsel for Defendant
                                                            KRISTIN M. CALDWELL
22

23 Dated: April 18, 2017                                    /s/ OLAF HEDBERG
24                                                          OLAF HEDBERG
                                                            Counsel for Defendant
25                                                          WILLIAM L. BROWN

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      STIPULATION RE: VACATE TRIAL DATES AND SET        2
30    CHANGE OF PLEA HEARINGS
             Case 2:12-cr-00250-GEB Document 127 Filed 04/19/17 Page 3 of 3


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 2                                         FINDINGS AND ORDER

 3         The jury trial scheduled to commence at 9:00 a.m. on May 23, 2017, is vacated. All previously

 4 ordered deadlines related to the jury trial scheduled to commence on May 23, 2017, are vacated.

 5         Defendant XAVIER L. JOHNSON is scheduled for a status hearing for anticipated change of

 6 plea on April 28, 2017.

 7         Defendant WILLIAM L. BROWN is scheduled for a status hearing, anticipated arraignment on a

 8 superseding information, and anticipated change of plea on April 28, 2017.

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10         Dated: April 19, 2017

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      STIPULATION RE: VACATE TRIAL DATES AND SET      3
30    CHANGE OF PLEA HEARINGS
